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         Exhibit HH
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                                  No. 16-413

          In the Supreme Court of the United States

                         RAYMOND ARMSTRONG, et al.,
                                                             Petitioners,
                                         v.
         NATIONAL FOOTBALL LEAGUE and NFL PROPERTIES LLC,
                                              Respondents,
                    KEVIN TURNER and SHAWN WOODEN,
            on behalf of themselves and all others similarly situated,
                                                           Respondents.


            On Petition for a Writ of Certiorari to the United States
                     Court of Appeals for the Third Circuit


                  REPLY BRIEF FOR PETITIONERS

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                 REPLY BRIEF FOR PETITIONERS
             Only twice in its history has this Court addressed
         the governance of class-action settlements. Two decades
         ago, the Court held that when a global settlement makes
         “essential allocation decisions” among competing class
         members—like current and future claimants—the court
         must scrutinize “the terms of the settlement” and “the
         structure of the negotiations” for “assurance of fair and
         adequate representation.” Amchem Prods., Inc. v.
         Windsor, 521 U.S. 591, 627 (1997). At the very least,
         “intraclass conflicts” require “division into homogeneous
         subclasses”—with “separate representation”—to guard
         “against inequity and potential inequity at the precertifi-
         cation stage.” Ortiz v. Fibreboard, Corp., 527 U.S. 815,
         856-58, 864 (1999).
             Lacking further guidance, lower courts have divided
         over the meaning of these landmark cases, with the
         Second and Third Circuits adopting directly conflicting
         approaches. See 135 Former Players Br. 5 (“[T]here is a
         divergence among the circuits in applying [Amchem and
         Ortiz].”); Public Citizen Br. 14 (“The Second Circuit’s
         approach . . . would require a different outcome.”). This
         Court’s intervention is urgently needed—not only to
         resolve that split for the sake of future cases but also to
         prevent it from unraveling this very settlement.
         I.   The circuit split and the prospect of a collateral
              attack based on that split are undeniable, and
              respondents barely attempt to show otherwise.
             A. Respondent NFL neither discusses nor cites any
         of the Second Circuit cases that comprise the split. The
         closest it comes is an oblique reference to “petitioners’
         efforts to conjure a circuit split”—a carefully crafted
         sentence that stops short of denying the split’s exist-
         ence—and an unexplained assertion that “there is no
         reason to believe that the Second Circuit would have
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         reached a different conclusion.” NFL BIO 24. Yet nei-
         ther the NFL nor class counsel even attempt to run the
         facts of this case through the Second Circuit’s legal
         framework, which holds that settlement classes must be
         decertified “when categories of claims have different
         settlement values,” yet lack subclasses and “separate
         counsel.” In re Literary Works in Elec. Databases Copy-
         right Litig., 654 F.3d 242, 250-51, 253, 256-57 (2d Cir.
         2011). The Second Circuit’s approach also demands
         decertification when the settlement trades away the
         “future claims” of some class members “without afford-
         ing them any recovery,” for they “could not have been
         adequately represented.” In re Payment Card Inter-
         change Fee & Merchant Disc. Antitrust Litig., 827 F.3d
         223, 237 (2d Cir. 2016), application for extension of time
         to file cert. petition granted, No. 16A280 (due Nov. 23).
              This settlement has both of these features. It not on-
         ly “picks winners and losers among the injured class
         without providing necessary structural protections,”
         Public Citizen Br. 2-3, but also expressly extinguishes
         potentially thousands of future CTE claims for noth-
         ing—while providing up to $4 million to the select few
         with a current CTE claim as of April 22, 2015 (a category
         limited to those deceased players whose brains were
         inspected by Boston University’s CTE Center by that
         date). There is no serious argument that this settlement
         could be upheld under the Second Circuit’s current prec-
         edent. That is a classic definition of a split.
              B. In fact, the conflict is so pronounced that it raises
         the prospect that hundreds or even thousands of players
         diagnosed with CTE after the cutoff date will bring
         collateral attacks in federal court in New York City—
         where the NFL is headquartered. See Stephenson v.
         Dow Chem. Co., 273 F.3d 249, 260-61 (2d Cir. 2001). On
         this point, the NFL simply punts: It says nothing—
         nothing at all—about this scenario. And class counsel, for
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         their part, add only a dismissive footnote (at 22 n.5)
         suggesting that “the Second Circuit has backed away”
         from Stephenson. But, just this past summer, the Second
         Circuit explicitly reaffirmed Stephenson’s holding that
         absentees cannot be “bound by the settlement release” if
         “their class representative negotiated a settlement and
         release that extinguished their claims without affording
         them any recovery.” Interchange, 827 F.3d at 237. To
         hold otherwise would “violate[] due process”—an even
         stricter standard than adequacy. Id. That neither re-
         spondent—in 70-plus pages of combined briefing—
         makes any effort to confront this holding says all there is
         to say about just how irreconcilable the conflict really is.
              The split is therefore not just a matter of theoretical
         concern. Generally speaking, circuit conflicts are unde-
         sirable because they undermine the uniformity of federal
         law—a concern that is also implicated here. But what
         makes this conflict truly intolerable is that it could one
         day lead to different results in this very litigation—
         threatening to unravel part of the settlement on the back
         end, or at least to invite additional litigation about
         whether someone with a potentially valuable tort claim
         (like a wrongful-death claim) can be bound by a settle-
         ment purporting to release that claim for nothing.
              If this Court does not intervene, that day might not
         be far off. To illustrate the point: Ken Stabler, Oakland
         Raiders legend and recent Hall of Famer, died in July
         2015, and “his autopsy revealed severe stage-3 CTE.”
         135 Former Players Br. 2. But because he died “a mere
         two and a half months after the cut off” date, “Mr. Sta-
         bler and his heirs cannot recover for CTE injuries under
         the settlement as currently drafted,” and indeed “can
         recover nothing under the current settlement.” Id. at 3.
         If so, what is to stop the executor of Mr. Stabler’s estate
         (an amicus in this case) from filing suit in federal court in
         Manhattan, just a few miles south from the NFL’s head-
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         quarters? And if that happens, and it is successful under
         Second Circuit precedent, is there any doubt that this
         Court will then be asked to step in? Far better to do so
         now, on direct review.
              The NFL’s response to the circumstances of people
         like Mr. Stabler is to assert (at 27) that they are “fortu-
         nate” and “asymptomatic.” That could not be further
         from the truth. “Before his death, Mr. Stabler suffered
         from mood swings and other mental issues that de-
         stroyed [his] marriage,” while other players who might
         have CTE (but not a qualifying illness) are “suffer[ing]
         from severe depression” and “homelessness”; “cannot
         drive [] or hold a job”; struggle with “bouts of aggres-
         sion, anxiety, poor impulse control, and anger”; are af-
         flicted with “severe insomnia”; and so on. Id. at 2-3.
              In a similar vein, class counsel—fiduciaries for these
         players—say that their pleas “cannot be taken seriously”
         (at 32), because they lacked the oracular foresight to
         know whether to opt out of the class based on a diagnosis
         they can’t yet confirm, or to otherwise predict what their
         futures may hold. But future claimants “may not have
         the information or foresight needed to decide, intelli-
         gently, whether to stay in or opt out.” Amchem, 521 U.S.
         at 628. And amici’s “grave concerns” should very much
         be taken seriously. 135 Former Players Br. 1. The possi-
         bility of a collateral attack should be taken seriously. The
         fact that many class members will receive “valueless
         relief while releasing a host of claims of unknown value,”
         Interchange, 827 F.3d at 239—even if “their CTE causes
         economic ruin, destroys their family, or kills them,” 135
         Former Players Br. 8—should be taken seriously. A
         stark “divergence among the circuits” on how to apply
         “this Court’s teachings in Amchem and Ortiz” should be
         taken seriously. Id. at 5. That this case is “beset by intra-
         class conflicts and a lack of structural protections for
         absent class members,” and hence “suffers from the
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         same deficiencies that caused this Court to reject the
         settlements in Amchem and Ortiz,” should be taken
         seriously. Id. at 5, 13. And the need for clear guidance to
         courts and litigators alike on a question of profound
         importance—what structural protections are necessary
         before a settlement may extinguish the claims of a di-
         verse group of class members, including the not-yet-
         injured—should likewise be taken seriously.
         II.   Recent developments underscore the need for
               this Court’s immediate review.
              The problems with the settlement, and the need for
         this Court’s review, are highlighted by several recent
         developments—none of which respondents mention. The
         first concerns the sole class representative for the pre-
         sent claimants, Kevin Turner. Although Mr. Turner was
         thought to have ALS when this settlement was negotiat-
         ed, researchers at Boston University’s CTE Center
         announced earlier this month that he actually had CTE.
         See Hohler, Former Patriot Kevin Turner died from
         CTE, not ALS, Boston Globe, Nov. 3, 2016,
         http://bit.ly/2g2mi2g (“This is not ALS; this is CTE.”).
         Perhaps this development will affect the compensation
         provided to his survivors (because he had a future CTE
         claim, valued at $0 by the settlement). Or perhaps it will
         not (because his survivors may still be able to collect up
         to $5 million for ALS—the one diagnosis worth more
         than CTE—which only 31 class members are expected to
         receive, A.1585). But either way, this startling develop-
         ment only underscores the inadequacy of representation
         and the artificiality of the lines drawn by the settlement.
              It also highlights how quickly the landscape is
         changing with respect to CTE. Indeed, in a second major
         development, announced on the same day that this peti-
         tion was filed, scientific researchers said that they have
         made progress toward diagnosing CTE in the living. See
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         Belson, Researchers Make Progress Toward Identifying
         C.T.E. in the Living, N.Y. Times, Sept. 26, 2016,
         http://nyti.ms/2doVE5D; see also Nocera, Is the N.F.L.’s
         Concussion Settlement Broken?, N.Y. Times, Oct. 7,
         2016, http://nyti.ms/2dNq4fl (“I really do foresee being
         able to diagnose C.T.E. pretty accurately while people
         are alive sometime in the next five to 10 years. . . . Hope-
         fully, even earlier.”). The settlement, however, seeks to
         “freez[e] in place the science” of yesteryear, Amchem,
         521 U.S. at 611, blocking compensation for anyone but
         the very earliest diagnosed with the disease.
              Finally, in yet another relevant development since
         this petition was filed, a New York state judge compelled
         the NFL to respond to discovery about what it knew
         regarding “the dangers of concussions” and whether it
         “deliberately concealed them from players.” See Belson,
         Judge Tells N.F.L. to Reveal Some Secrets, N.Y. Times,
         Oct. 31, 2016, http://nyti.ms/2erukj0. That issue is central
         to the strength of the underlying claims in this case, and
         yet this settlement was reached without even the most
         rudimentary discovery into what the NFL’s executives
         knew and when they knew it. If this Court does not grant
         certiorari, the answer will arrive too late for the thou-
         sands of former players the settlement seeks to bind.
         III. Because the settlement releases the future
              claims of thousands of absentees for nothing—
              without providing the requisite structural
              protections—it violates Amchem and Ortiz.
              On the merits, the respondents spend most of their
         time avoiding the question presented and the real reason
         this settlement runs afoul of Amchem and Ortiz. The
         NFL rewrites the question (at i) to focus on something
         else entirely: whether the settlement “satisfies Rule
         23(e)’s requirement that a class-action settlement be
         ‘fair, reasonable, and adequate.’” But “a fairness hearing
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         under Rule 23(e) is no substitute for rigorous adherence
         to those provisions of the Rule ‘designed to protect ab-
         sentees.’” Ortiz, 527 U.S. at 849; see id. at 858 (“[T]he
         proponents of the settlement are trying to rewrite Rule
         23; each ignores the fact that Rule 23 requires protec-
         tions under subdivisions (a) and (b) against inequity and
         potential inequity at the precertification stage, quite
         independently of the required determination at postcer-
         tification fairness review under subdivision (e) that any
         settlement is fair in an overriding sense.”).
              Taking a different tack, class counsel doggedly try to
         recast the question as a factual dispute. See CC BIO 2,
         10, 11, 16, 18, 19, 20, 21. That is bewildering. Adequacy of
         representation and due process are legal questions. And
         the only facts that matter are uncontested—“the struc-
         ture of the negotiations” and “the terms of the settle-
         ment” that it produced. Amchem, 521 U.S. at 627.
              Start with the structure. If there is an original sin in
         this case, it is that much of the important early negotia-
         tions occurred without any structural protections to
         guard against intraclass conflicts. When class counsel
         first sat down at the negotiating table, they “sought to
         act on behalf of a single giant class rather than on behalf
         of discrete subclasses,” even though “the interests of
         those within the single class [were] not aligned.” Id. at
         626. Those negotiations decided which injuries would be
         compensable and which would not, and thus who would
         benefit from the settlement and who would not. The
         winners were the 28.12% of class members who are
         expected to qualify for compensation according to class
         counsel’s own estimates; the losers were everyone else—
         71.88% of the class. A.1585.
             Although class counsel now assert (at 21) that these
         facts are “invented out of whole cloth,” their own decla-
         rations say otherwise: Only “after this structure was
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         agreed to” were the subclasses created. A.3578 (“[A]fter
         this structure was agreed to, Arnold Levin was designat-
         ed to represent the players in Subclass 1 who have not
         yet received a diagnosis of neuromuscular or neurocogni-
         tive impairment, and Dianne Nast was tasked with rep-
         resenting the players in Subclass 2 who have received a
         qualifying diagnosis.”). And logic doesn’t allow for any
         other possibility. Because the subclasses are defined by
         reference to whether a class member has a “qualifying
         injury” (a category that includes current but not future
         CTE claims), the definition of qualifying injury neces-
         sarily predated creation of the subclasses themselves.
              That is no small thing. Class counsel concede (at 5)
         that negotiations over the compensable categories were
         “contentious,” and that, “[u]ltimately, the NFL was
         willing to compensate only objectively verifiable and
         serious neurocognitive and neuromuscular injuries, i.e.,
         dementia, Alzheimer’s Disease, Parkinson’s Disease, and
         ALS,” as well as current CTE claims. CC BIO 5. By
         contrast, “[t]he NFL would not agree to compensate less
         objectively verifiable and multifactorial conditions”—
         including many serious injuries that the plaintiffs them-
         selves pleaded in the master complaint—or to compen-
         sate for future CTE claims. Id. at 5-6. But that just
         points up the structural problems. Although this kind of
         give-and-take raises no concerns in bilateral litigation, a
         settlement-only class action is different—particularly a
         conflicted one. It requires structural protection for the
         absentees whose rights are being resolved. And here,
         “the District Court took no steps at the outset to ensure
         that the potentially conflicting interests” of different
         class members “were protected by provisional certifica-
         tion of subclasses.” Ortiz, 527 U.S. at 831-32. Instead, by
         the time subclass counsel assumed their roles—having
         been selected by (and from) the steering committee,
         without court involvement—nobody was looking out for
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         the vast majority of class members whose claims had
         already been bargained away, including people who will
         one day be diagnosed with CTE and suffer immeasura-
         bly as a result.
              To make matters worse, the subclasses were not
         “homogenous,” but included class members with “more
         valuable claims than” others. Id. at 856-57. And both
         counsel selected to represent the two subclasses also
         represented clients alleging similar injuries in cases
         already on file—and even represented the same client—
         while retaining a financial stake in their recoveries. See
         Pet. 12-13, 28.1
              The substance of the deal confirms its inadequacy.
         As in Amchem and Ortiz, this settlement is a zero-sum
         game, entailing “essential allocation decisions designed
         to confine compensation and to limit defendants’ liabil-
         ity.” Amchem, 521 at 626-27. It does not account for
         changing science, no one can “opt out at the back end,”
         and future CTE claims are expressly “extinguished with
         no compensation,” while present CTE claims are valued
         at up to $4 million. Id. The settlement also contains a
         clear-sailing clause for up to $112.5 million in attorneys’
         fees (though a fee motion has not yet been filed), plus a



              1
                Despite class counsel’s suggestions (at 15, 20), petitioners
         have never asserted that futures-subclass counsel represents clients
         with qualifying diagnoses. Petitioners have said only that he “repre-
         sented nine players who alleged current symptoms”—many of the
         same symptoms alleged by clients of the other subclass counsel, with
         whom he “shared a client”—and that he “agreed to fees in these
         cases on a one-third contingency basis.” Pet. 12-13, 28. Class counsel
         never deny these facts. And petitioners’ arguments were presented
         to and passed on below, so there is no impediment to this Court’s
         review. Pet. App. 21a-31a.
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         5% set-aside that could be worth another $46 million
         based on damages estimates.
              Respondents do not deny any of these facts. And
         although they attempt to explain away the settlement’s
         compensation for current CTE claims as just a “proxy”
         for other diseases (see NFL BIO 28), that argument
         withers under even the most modest scrutiny—much
         less the kind of “rigorous analysis” that Rule 23(a) re-
         quires, Wal–Mart Stores, Inc. v. Dukes, 564 U.S. 338,
         350-51 (2011), and still less the “heightened” version
         applicable in the settlement context, Amchem, 521 U.S.
         at 620. According to the respondents’ own estimates, the
         average payment for a CTE claim will be $1.44 million,
         while the average payment for dementia claims will be
         $190,000—almost eight times less. A.1573. Neither re-
         spondent even tries to defend this gaping disparity. Like
         the NFL, class counsel (at 25) characterize CTE com-
         pensation as simply an “accommodation” for those
         “whose deaths preceded the ability to get the medical
         proofs required under the settlement.” But the settle-
         ment makes no similar accommodation for any class
         member who died before the settlement but was not
         inspected for CTE. The settlement’s compensation for
         CTE is thus exactly what it purports to be—
         compensation for CTE.
              A final point: Nobody contends that class counsel are
         anything other than skilled, well-intentioned lawyers
         who have achieved what they believe is a fair deal. But
         settlements can create skewed incentives, and the rules
         of the road are unclear. Nearly twenty years ago, this
         Court laid down guideposts, identifying the need for
         structural protections. But just what those protections
         must look like, and how far they extend, are questions
         that remain. This Court should answer them.
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                             CONCLUSION
             The petition for a writ of certiorari should be
         granted.
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